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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
x

93 1L7CRO512-05
(DLC)

UNITED STATES OF AMERICA,
: _ORDER
JOEL TAPIA, USDC SDNY
: DOCUMENT

-VO-

Defendant. :
. ELECTRONICALLY FIL»

 

 

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DATE FILED: [1 4 [2026 |

DENISE COTE, District Judge:
As set forth on the record at the Curcio hearing held on

it is hereby

2020,
counsel Antonia Apps is relieved

November 6,

ORDERED that C.J.A.
James M. Branden,

C.J.A. counsel on duty this day,

to represent the defendant.

New York, New York

Dated:
November 6, 2020
DEN Ji 6 COTE

United States District Judge

The

is appointed

 
